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Una O’Boyle
U.S. Bankruptcy Court
District of Delaware

824 Market Street, 3 Floor

Wilmington, DE 19801

Re: Case No: 21-10016-BLS (Aura Financial Corp./Insikt, Inc.)

Dear Sirs:

Brian Zalaznick
4650 Monte Bloyd Road
(P.O Box 27)
Philo, CA 95466
(415) 306-1839

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February 11, 2021

Enclosed is proof of my ownership in Insikt, Inc./Aura Financial Corp. common stock. My total ownership

is 248,986 shares purchased in 3 installments.

12/15 — 165,000 shares
11/16 — 28,986
4/17 — 55,000

New mailing address:
P.O. Box 27
Philo, CA 95466

New physical address:
4650 Monte Bloyd Road
Philo, CA 95466

Sincerely,

Uhl

Brian H. Zalaznick
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UNITED STATES BANKRUPTCY COURT

District of Delaware
824 Market Street, 3rd Floor
Wilmington, DE 19801
In Re: Chapter: 7
Aura Financial Corporation
303 Second Street
Suite 550
San Francisco, CA 94107
EIN: 45-—4652644 Case No.: 21-10016-BLS
Insikt, Inc.

NOTICE THAT THERE ARE ASSETS FROM
WHICH A DIVIDEND MIGHT POSSIBLY BE PAID TO CREDITORS

YOU ARE HEREBY NOTIFIED that there are assets from which a dividend might possibly be paid to creditors.

In order to share in any distribution, a creditor must file a proof of claim with the Clerk of the Bankruptcy Court.
Claims must be filed within ninety (90) days after service of this notice.

For governmental entities, the proof of claim deadline shall be the longer of one-hundred eighty (180) days after the
petition was filed or ninety (90) days after this Notice of Assets is served or as otherwise provided in the Federal
Rules. Late claims will not be allowed. A proof of claim may be filed either electronically or as a paper document.

For information on how to file a claim, visit the United States Bankruptcy Court — District of Delaware website at
(http://www.deb.uscourts.gov), and click on the "Programs & Services" tab — Claims Information.

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Una O'Boyle, Clerk of Court

Dated: 1/29/21
(VAN-043)

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Certificate Number Number of Shares
PC - 21 --28, 986--

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INSIKT, INC.

SERIES C PREFERRED STOCK
PAR VALUE $0.0001 PER SHARE

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THIS CERTIFIES THAT The Brian H. Zalaznich Revocable Trust Dated 8/21/1999, as -
amended is the registered holder of Twenty Eight Thousand Nine Hundred Eighty Six (28,986) Shares be
of Series C Preferred Stock, par value $0.0001 per share, transferable only on the books of the Corporation by the
holder hereof in person or by Attorney upon surrender of this Certificate properly endorsed.

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This Certificate and the shares represented hereby shall be held subject to all of the provisions of the
Certificate of Incorporation and the Bylaws of the Corporation and any amendments thereto, a copy of each of
which is on file at the office of the Corporation and made a part hereof as fully as though the provisions of said
Certificate of Incorporation and Bylaws were imprinted in full on this Certificate, to all of which the holder of this
Certificate, by acceptance hereof, assents and agrees to be bound.

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In Witness Whereof, the said Corporation has caused this Certificate to be signed by its duly

authorized officers this 17th day of November, 2016.
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Certificate Number Number of Shares
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INSIKT, INC.

COMMON STOCK
PAR VALUE $0.0001 PER SHARE

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THIS CERTIFIES THAT Brian Zalaznick is the registered
holder of Fifty Five Thousand (55,000) Shares of Common Stock, par value $0.0001 per
share, transferable only on the books of the Corporation by the holder hereof in person or by Attorney upon
surrender of this Certificate properly endorsed.

This Certificate and the shares represented hereby shall be held subject to all of the provisions of the

Certificate of Incorporation and the Bylaws of the Corporation and any amendments thereto, a copy of each of

: which is on file at the office of the Corporation and made a part hereof as fully as though the provisions of said

Certificate of Incorporation and Bylaws were imprinted in full on this Certificate, to all of which the holder of this
Certificate, by acceptance hereof, assents and agrees to be bound.

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In Witness Whereof, the saif Corporation has caused this Certificate to be signed by its duly

cuthorized officers this 28th day of April, 2017.

SECRETARY

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BUILDING ONE, SUITE 200 BEUING MOSCOW
BAKER BO [ I S LLP PALO ALTO, CALIFORNIA BRUSSELS NEW YORK
94304-1007 DALLAS PALO ALTO
DUBA! RIYADH
TEL +1 650.739.7500 HONG KONG SAN FRANCISCO
FAX +1 650.739.7699 HOUSTON WASHINGTON

BakerBotts.com

January 3, 2017

VIA FEDEX

Brian H. Zalaznick
509 Pixie Trail
Mill Valley, CA 94941

Dear Brian:

Enclosed please find an Insikt, Inc. Series C Preferred Stock Certificate for The
Brian H. Zalaznick Revocable Trust Dated 8/21/1999, as amended.

Very truly yours, "

anette C Doiron
egal Secretary

ND:ND

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Hogan Lovells US LLP
4085 Campbell Avenue

Suite 100

Menlo Park, CA 94025
Hogan T +1650 463 4000
Lovells F +1650 463 4199

www.hoganlovells.com

January 19, 2016
Via FedEx
The Brian H. Zalaznick Revocable Trust Dated 8/21/1999, as amended
509 Pixie Trail
Mill Valley, CA 94941
Re: Insikt, Inc. Series C Preferred Stock Certificate
Dear Mr. Zalaznick:

Enclosed please find the following documents related to the purchase of shares of Series C
Preferred stock:

Certificate No. Name Shares
PC-15 The Brian H. Zalaznick 28,986
Revocable Trust Dated

8/21/1999, as amended

A stock certificate receipt (the “Receipt”) is also enclosed. Please sign the Receipt where
indicated and return it to me in the self-addressed stamped envelope provided. Thank you for your
attention to this matter.

Please feel free to contact me should you have any questions, my contact information is listed
below.

Best regards,

Marty Kennedy

Paralegal
john.kennedy@hoganlovells.com
D 650-463-4052

Enclosures

Hogan Lovells US LLP is a limited liability partnership registered in the District of Columbia. “Hogan Lovells” is an international legal practice that includes Hogan Lovells US LLP and Hogan
Lovells International LLP, with offices in: Alicante Amsterdam Baltimore Beijing Brussels Caracas Colorado Springs Denver Dubai Dusseldorf Frankfurt Hamburg Hanoi Ho

Chi Minh City HongKong Houston Johannesburg London Los Angeles Luxembourg Madrid Miami Milan Moscow Munich New York Northern Virginia Paris Philadelphia

Prague Rio de Janeiro Rome San Francisco Sao Paulo Shanghai Silicon Valley Singap Tokyo Ulaanb Warsaw Washi DC Associated offices: Budapest Jakarta

 

Jeddah Riyadh Zagreb. For more information see www hoganlovells.com
W042602/000003 - 1426798 v1

 
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EXHIBIT C-4

ELECTION UNDER SECTION 83(b)
OF THE INTERNAL REVENUE CODE OF 1986

The undersigned taxpayer hereby elects, pursuant to Sections 55 and 83(b) of the Internal Revenue Code of
1986, as amended, to include in taxpayer’s gross income or alternative minimum taxable income, as the case
may be, for the current taxable year the amount of any compensation taxable to taxpayer in connection with
taxpayer’s receipt of the property described below.

 

 

1, The name, address, taxpayer identification number and taxable year of the undersigned are as follows:
TAXPAYER SPOUSE
NAME: Blitees 2 Alazsrebe arb
ADDRESS: S67 Viele Fenil 529_ Yel Frer/
? ley Ch 7

Mill Valley cab IIT

TAX ID NO.: (2¢-Yo-/672 $60 -33 -7/27
TAXABLE YEAR: 90/ $

i The property with respect to which the election is made is described as follows: los ,€00 shares
(the “Shares”) of the Common Stock of Insikt, Inc. (the “Company”).

3, The date on which the property was transferred is: tahiolre .

4, The property is subject to the following restrictions:

 

The Shares may not be transferred and are subject to forfeiture under the terms of an agreement
between the taxpayer and the Company. These restrictions lapse upon the satisfaction of certain
conditions contained in such agreement.

5. The Fair Market Value at the time of transfer, determined without regard to any restriction other than
a restriction which by its terms shall never lapse, of such property is: $_ /20, $0.00

6. The amount (if any) paid for such property is: $ /20, 450.08

The undersigned has submitted a copy of this statement to the person for whom the services were performed
in connection with the undersigned’s receipt of the above-described property. The transferee of such property
is the person performing the services in connection with the transfer of said property.

The undersigned understands that the foregoing election may not be revoked except with the consent of the
Commissioner,

Dated: 14 [ fo , Aelg

  
  

Taxpayer

The undersigned spouse of taxpayer joins in this election. ot Pi | f
dd eo

 

 

Dated: / fi A lo Gu Lad. A Web >
: / Spouse of Taxpayer

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EXHIBIT A
2012 EQUITY INCENTIVE PLAN
EXERCISE NOTICE

Insikt, Inc.
225 Bush Street, Suite 1840
San Francisco, California 94104

Attention: Chief Executive Officer

. Exercise_of Option. Effective as of today, /g/yo/7$_, the undersigned
(“Participant”) hereby elects to exercise Participant’s option (the “Option”) to purchase [65,000

shares of the Common Stock (the “Shares”) of Insikt, Inc. (the “Company”’) under and pursuant to
the 2012 Equity Incentive Plan (the “Plan”) and the Stock Option Agreement — Early Exercise dated
December 4, 2015 (the “Option Agreement”).

2 Delivery of Payment. Participant herewith delivers to the Company the full purchase
price of the Shares, as set forth in the Option Agreement, and any and all withholding taxes due in
connection with the exercise of the Option.

3 Representations of Participant. Participant acknowledges that Participant has
received, read and understood the Plan and the Option Agreement and agrees to abide by and be
bound by their terms and conditions.

4, Rights as Stockholder. Until the issuance of the Shares (as evidenced by the
appropriate entry on the books of the Company or of a duly authorized transfer agent of the
Company), no right to vote or receive dividends or any other rights as a stockholder shall exist with
respect to the Common Stock subject to an Award, notwithstanding the exercise of the Option. The
Shares shall be issued to Participant as soon as practicable after the Option is exercised in
accordance with the Option Agreement. No adjustment shall be made for a dividend or other right
for which the record date is prior to the date of issuance except as provided in Section 13 of the Plan.

3; Company’s Right of First Refusal. Before any Shares held by Participant or any
transferee (either being sometimes referred to herein as the “Holder”) may be sold or otherwise
transferred (including transfer by gift or operation of law), the Company or its assignee(s) shall have
a right of first refusal to purchase the Shares on the terms and conditions set forth in this Section 5
(the “Right of First Refusal”).

(a) Notice of Proposed Transfer. The Holder of the Shares shall deliver to the
Company a written notice (the “Notice”) stating: (i) the Holder’s bona fide intention to sell or
otherwise transfer such Shares; (ii) the name of each proposed purchaser or other transferee
(“Proposed Transferee”); (iii) the number of Shares to be transferred to each Proposed Transferee;
and (iv) the bona fide cash price or other consideration for which the Holder proposes to transfer the
Shares (the “Offered Price”), and the Holder shall offer the Shares at the Offered Price to the
Company or its assignee(s).

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(b) Exercise of Right of First Refusal. At any time within thirty (20) days after
receipt of the Notice, the Company and/or its assignee(s) may, by giving written notice to the
Holder, elect to purchase all, but not less than all, of the Shares proposed to be transferred to any one
or more of the Proposed Transferees, at the purchase price determined in accordance with
subsection (c) below.

(c) Purchase Price. The purchase price (“Purchase Price”) for the Shares
purchased by the Company or its assignee(s) under this Section 5 shall be the Offered Price. If the
Offered Price includes consideration other than cash, the cash equivalent value of the non-cash
consideration shall be determined by the Board of Directors of the Company in good faith.

(d) Payment. Payment of the Purchase Price shall be made, at the option of the
Company or its assignee(s), in cash (by check), by cancellation of all or a portion of any outstanding
indebtedness of the Holder to the Company (or, in the case of repurchase by an assignee, to the
assignee), or by any combination thereof within thirty (30) days after receipt of the Notice or in the
manner and at the times set forth in the Notice.

(e)  Holder’s Right to Transfer. If all of the Shares proposed in the Notice to be
transferred to a given Proposed Transferee are not purchased by the Company and/or its assignee(s)
as provided in this Section 5, then the Holder may sell or otherwise transfer such Shares to that
Proposed Transferee at the Offered Price or at a higher price, provided that such sale or other
transfer is consummated within one hundred and twenty (120) days after the date of the Notice, that
any such sale or other transfer is effected in accordance with any applicable securities laws and that
the Proposed Transferee agrees in writing that the provisions of this Section 5 shall continue to apply
to the Shares in the hands of such Proposed Transferee. If the Shares described in the Notice are not
transferred to the Proposed Transferee within such period, a new Notice shall be given to the
Company, and the Company and/or its assignees shall again be offered the Right of First Refusal
before any Shares held by the Holder may be sold or otherwise transferred.

(f) Exception for Certain Family Transfers. Anything to the contrary contained
in this Section 5 notwithstanding, the transfer of any or all of the Shares during the Participant's
lifetime (except in connection with a divorce, dissolution, legal separation or annulment) or on the
Participant’s death by will or intestacy to the Participant’s immediate family or a trust for the benefit
of the Participant’s immediate family shall be exempt from the provisions of this Section 5.
“Immediate Family” as used herein shall mean spouse, child, father, mother, brother, sister, father-
in-law, mother-in-law, brother-in-law, sister-in-law, grandfather, grandmother, grandchild, cousin,
aunt, uncle, niece, nephew, stepchild, god-son, god-daughter, or to a trust or other similar estate
planning vehicle for the benefit of the Participant or any such person or to an entity controlled by the
Immediate Family. In such case, the transferee or other recipient shall receive and hold the Shares
so transferred subject to the provisions of this Section 5, and there shall be no further transfer of such
Shares except in accordance with the terms of this Section 5.

(g) Termination of Right of First Refusal. The Right of First Refusal shall
terminate as to any Shares upon the earlier of (i) the first sale of Common Stock of the Company to

the general public, or (ii) a Change in Control in which the successor corporation has equity
securities that are publicly traded.

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6. Tax Consultation. Participant understands that Participant may suffer adverse tax
consequences as a result of Participant’s purchase or disposition of the Shares. Participant
represents that Participant has consulted with any tax consultants Participant deems advisable in
connection with the purchase or disposition of the Shares and that Participant is not relying on the
Company for any tax advice.

7: Restrictive Legends and Stop-Transfer Orders.

(a) Legends. Participant understands and agrees that the Company shall cause the
legends set forth below or legends substantially equivalent thereto, to be placed upon any
certificate(s) evidencing ownership of the Shares together with any other legends that may be
required by the Company or by state or federal securities laws:

THE SECURITIES REPRESENTED HEREBY HAVE NOT BEEN REGISTERED
UNDER THE SECURITIES ACT OF 1933 (THE “ACT”) AND MAY NOT BE
OFFERED, SOLD OR OTHERWISE TRANSFERRED, PLEDGED OR
HYPOTHECATED UNLESS AND UNTIL REGISTERED UNDER THE ACT OR,
IN THE OPINION OF COUNSEL SATISFACTORY TO THE ISSUER OF THESE
SECURITIES, SUCH OFFER, SALE OR TRANSFER, PLEDGE OR
HYPOTHECATION IS IN COMPLIANCE THEREWITH.

THE SHARES REPRESENTED BY THIS CERTIFICATE ARE SUBJECT TO
CERTAIN RESTRICTIONS ON TRANSFER AND A RIGHT OF FIRST
REFUSAL HELD BY THE ISSUER OR ITS ASSIGNEE(S) AS SET FORTH IN
THE EXERCISE NOTICE BETWEEN THE ISSUER AND THE ORIGINAL
HOLDER OF THESE SHARES, A COPY OF WHICH MAY BE OBTAINED AT
THE PRINCIPAL OFFICE OF THE ISSUER. SUCH TRANSFER
RESTRICTIONS AND RIGHT OF FIRST REFUSAL ARE BINDING ON
TRANSFEREES OF THESE SHARES.

THE SHARES REPRESENTED BY THIS CERTIFICATE ARE SUBJECT TO
RESTRICTIONS ON TRANSFER FOR A PERIOD OF TIME FOLLOWING THE
EFFECTIVE DATE OF THE UNDERWRITTEN PUBLIC OFFERING OF THE
COMPANY’S SECURITIES SET FORTH IN AN AGREEMENT BETWEEN THE
ISSUER AND THE ORIGINAL HOLDER OF THESE SHARES AND MAY NOT
BE SOLD OR OTHERWISE DISPOSED OF BY THE HOLDER PRIOR TO THE
EXPIRATION OF SUCH PERIOD WITHOUT THE CONSENT OF THE
COMPANY OR THE MANAGING UNDERWRITER.

(b)  Stop-Transfer Notices. Participant agrees that, in order to ensure compliance
with the restrictions referred to herein, the Company may issue appropriate “stop transfer”
instructions to its transfer agent, if any, and that, if the Company transfers its own securities, it may
make appropriate notations to the same effect in its own records.

(c) Refusal to Transfer. The Company shall not be required (i) to transfer on its
books any Shares that have been sold or otherwise transferred in violation of any of the provisions of

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this Exercise Notice or (ii) to treat as owner of such Shares or to accord the right to vote or pay
dividends to any purchaser or other transferee to whom such Shares shall have been so transferred.

8. Successors and Assigns. The Company may assign any of its rights under this
Exercise Notice to single or multiple assignees, and this Exercise Notice shall inure to the benefit of
the successors and assigns of the Company. Subject to the restrictions on transfer herein set forth,
this Exercise Notice shall be binding upon Participant and his or her heirs, executors, administrators,
successors and assigns.

9, Interpretation. Any dispute regarding the interpretation of this Exercise Notice shall
be submitted by Participant or by the Company forthwith to the Administrator, which shall review
such dispute at its next regular meeting. The resolution of such a dispute by the Administrator shall
be final and binding on all parties.

10. Governing Law: Severability. This Exercise Notice is governed by the internal
substantive laws, but not the choice of law rules, of California. In the event that any provision
hereof becomes or is declared by a court of competent jurisdiction to be illegal, unenforceable or
void, this Exercise Notice shall continue in full force and effect.

ali Entire Agreement. The Plan and Option Agreement are incorporated herein by
reference. This Exercise Notice, the Plan, the Restricted Stock Purchase Agreement, the Option
Agreement and the Investment Representation Statement constitute the entire agreement of the
parties with respect to the subject matter hereof and supersede in their entirety all prior undertakings
and agreements of the Company and Participant with respect to the subject matter hereof, and may
not be modified adversely to the Participant’s interest except by means of a writing signed by the
Company and Participant.

 

 

 

 

 

 

 

Submitted by: Accepted by:
PARTICIPANT INSIKT, INC.
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Title
Address: Address:
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Date Received

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